          Case 2:22-cv-01656-DAD-JDP Document 42-10 Filed 05/20/24 Page 1 of 3




                                     Exhibit I




Decl. of Carly J. Munson in Support of Mot. to Dismiss First Am. Compl. & Corresponding Req. for Judicial Notice
                                          (2:22-CV-01656-DAD-JDP)
                                                                                  ZOCV372366
                                                                               Santa Clara — Civil
                            Case 2:22-cv-01656-DAD-JDP Document 42-10 Filed 05/20/24 Page 2 of 3
                                                                                                                                                                CIVRI ﬂaming
ATTORNEY 0R PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                              F°R C°URTUSE °””
Rumduol Vuong (#264392); Dylan Colbert (#341424)
California Civil Rights Department                                                                             Electronically Filed
2218 Kausen Drive, Suite 100, Elk Grove, CA 95758
                                                                                                               by Superior Court Of CA                      S


                                                                                                               County of Santa Clara,
                  “WWW” 916-709-0687                                        ”W                                 on 4/1 1/2023 3:41 PM
                  E-MAILADDRESS:      rumduol.vuong@dfeh.ca.gov; dylan.co|bert@dfeh.ca.gov
         ATFORNEY FOR (Name): Plaintiff California Dep't of Fair Employment and Housing                        Reviewed By: R. Fleming
    SUPERIOR COURT 0F CALIFORNIA, COUNTY OF SANTA CLARA
                                                                                                                ase #20CV372366
     STREET ADDRESS: 191 North First Street
                                                                                                               Envelope: 11681 005
    MAILING ADDRESS:          191 North First Street
    CITY AND ZIP CODE:
                     San Jose 951 13
        BRANCH NAME: Downtown Superior Court

            PLAINTIFF/PETITIONER: California Dep't of Fair Employment and Housing
    DEFENDANT/RESPONDENT: Cisco Systems, |nc.; Sundar lyer; Ramana Kompella
                  NOTICE OF ENTRY OF DISMISSAL AND PROOF OF SERVICE
      E E-            Motor Vehicle          Other E
                 Personal Injury, Property Damage, or Wrongful Death
                                                                                                                CASE NUMBER
                                                                                                                20CV372366
                 Famlly Law
                 Eminent Domain
        x        Other (specify):Civi| - Civil Rights
TO ATTORNEYS AND PARTIES WITHOUT ATTORNEYS: A dismissal was entered in this action by the clerk as shown on the
Request for Dismissal. (Attach a copy completed by the clerk.)
Date: April 11, 2023
Dylan Colbert
(TYPE OR PRINT NAME OF                X   ATTORNEY            PARTY WITHOUT ATTORNEY)
                                                                                             ’       3W        Caﬁuxﬂ’
                                                                                                                       (SIGNATURE)


                                                            PROOF OF SERVICE
1.      |am over the age of 18 and not a party to this cause. My residence or business address is:
        2218 Kausen Drive #1 00, Elk Grove, CA 05758

2.      E         |am a resident of or employed in the county where the mailing occurred. served a copy of the Notice of Entry of Dismissal
                                                                                                        |




         E
         E
        a.

        b.
                  and Request for Dismissal by mailing them, in a sealed envelope with postage fully prepaid, as follows:
                        |




                        |
                            deposited the envelope with the United States Postal Service.
                            placed the envelope for collection and processing for mailing following this business‘s ordinary practice with which                  |   am
                        readily familiar. On the same day correspondence is placed for collection and mailing, it is deposited in the ordinary
                      course of business with the United States Postal Service.
        c.       Date of deposit:                              d.  Place of deposit (city and state):
        e.       Addressed as follows (name and address):


3       E
        a.
                  |   sewed a copy of the Notice of Entry of Dismissal and Request for Dismissal by personally delivering copies as shown below:
                 Name of person served:
        b.       Address at which person served:
                 On (date):
4.      E
        c.

                  |
                                                                                   d.   At (time):
                      served a copy of the Notice of Entry of Dismissal and Request for Dismissal by electronically sewing copies as shown below
                  (complete if electronic service is used based on a court order or agreement of the panies):
                 Name of person served: See Attached
                 Electronic service address of person served: See Attached
        svovsv


                 On (date): April 11, 2023                                         d.   At (time): 3:36 p.m.
                 Electronic service address from which               served the documents: step.newton@dfeh.ca.gov


5.      EE              Proof of electronic service is attached.
                                                                 |




                  Proof of service on additional parties is attached.

     declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.



                                                                                                      W
|




Date: April 11, 2023

Step Newton, CRD Legal Analyst                                                          ’ JV,A/
                                      (TYPE OR PRINT NAM E)
                                                                                          v V                  (SIGNATURE OF DECLARANT)
                                                                                                                                                                 Page 1 of1
Form Adopted for Mandatory Use
     Judicial Council of California
                                                                     NOTICE 0F ENTRY 0F DISMISSAL                                    Code of Civil Procedure, § 581 et seq.;
                                                                                                                                            Cal. Rules of Court, rule 3.1390
    CIv-120[Rev. January 1, 2012]                                       AND PROOF OF SERVICE                                                             www.couns.ca.gov
                                                   Case 2:22-cv-01656-DAD-JDP Document 42-10 Filed 05/20/24 Page 3 of 3


                                                                                             PROOF OF SERVICE
                                                           I,   the undersigned, hereby declare:

                                                           I    am over eighteen years 0f age and not a party t0 the within cause. My mailing address

                                                 is 2218   Kausen Drive, Suite 100, Elk Grove, California 95758. My electronic service address is

                                                 step.newton@dfeh.ca.gov.
                      \DWQONUIhUJNH




                                                           On April 11, 2023, I served a copy of the attached document:

                                                                  0     NOTICE OF ENTRY OF DISMISSAL AND PROOF OF SERVICE;
                                                                        REQUEST FOR DISMISSAL
                                                           In the case of Dept. 0f Fair Empl.          & Hous.   v.   Cisco Systems, Ina, et al.; Santa Clara

                                                 County Superior Court, Case No. 20CV372366, 0n each 0f the following Via email t0 the

                                                 person(s) at the email address(es) listed below as follows:


                                                  Lynne C. Hermle                                              Alexander Hernaez
                                                  lchermle(a)orrick.com                                        ahernaez@foxrothschild.com
                                                  Joseph C. Liburt                                             Andrew S. Esler
                                                  iliburt@orrick.com                                           aesler@foxr0thschild.com
                                                  Orrick Herrington          &
                                                                       Sutcliffe, LLP                          FOX Rothschild, LLP
                                                  1020 Marsh Road                                              345 California Street, Suite 2200
                                                  Menlo Park, CA 94025                                         San Francisco, CA 94104

                                                  (Attorneysfor Defendant Cisco Systems,                       (Attorneysfor Defendants Sundar Iyer and
                                                  Inc.)                                                        Ramana Kompella)


                                                                      Electronic Mail by forwarding a true and correct copy of the above document(s)

NNNNNNNNNHHHHHHHHHﬂ                              Via e-mail t0 the respective email address(es) listed above pursuant t0 Code 0f Civil Procedure
                      ®\l€\UthNH©\OW\IQUI&MNHG




                                                 section 1010.6 et seq.

                                                           I declare under penalty of perjury under the laws of the State of California that the



                                                 foregoing is true and correct.

                                                           Executed on April 11, 2023, at Sacramento, California.




                                                                                                                        9M
                                                                                                                        v    NW
                                                                                                                      Step Néwton, Legal Analyst
                                                                                                                      CRD (Formerly DFEH)



                                                                                                               -1-

                                                                                    Dept. Fair Empl.   & Hous. v. Cisco Systems, Ina, et al.
                                                                                                        ProofofService
